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              UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Yurik Shakhbazyan                      Docket Number:      0972 2:05CR00343

Name of Judicial Officer:      United States District Judge Kimberly J. Mueller

Date of Original Sentence:     12/7/2009

Original Offense: 18 U.S.C. § 1347 Health Care Fraud (Class D felony)

Original Sentence: 36 months custody of the Bureau of Prisons; 36 months Supervised Release;
$302,922.48 restitution; $100 special assessment; Mandatory drug testing; No firearms; DNA testing.

Special Conditions:
Warrantless Search
Financial Disclosure
Financial Restrictions
Cooperate with INS/ICE

Type of Supervision:     TSR

Date Supervision Commenced:         9/14/2012

Other Court Actions: None




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

        5 - Restitution payments shall be at a rate of $25 per month.

Justification: Mr. Shakhbazyan released to the Central District of California where he is currently being
supervised. At the time of his sentencing, no payment schedule was set by the court. A financial
investigation reveals Mr. Shakhbazyan has the ability to pay $25 per month, due to his unemployment
and immigration status. Further, computer asset searches of the Accurint database uncovered no
unreported assets. To date, the supervisee has paid $13,066, leaving a balance of $289,955. Payments


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RE: YurikCase 2:05-cr-00343-KJM Document 148Docket
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commensurate with ability to pay have been established at $25 per month. The probation officer will
continue to monitor and increase payments, according to the supervisee’s ability to pay.

It is recommended that the Court set the payment schedule at $25 per month. The probation officer will
inform the Court regarding financial circumstances or other supervision issues which warrant Court
action. In addition, should the Court concur, the probation officer will submit this matter for the Court’s
further consideration six months prior to expiration of supervision.

                                                          Respectfully submitted,
                                                          /s/ Michael A. Sipe


                                                          MICHAEL A. SIPE
                                                          Supervising United States Probation Officer
                                                          Telephone: (916) 786-6147
DATED:         9/2/2014




THE COURT ORDERS:

‫ ܈‬Modification approved as recommended.

‫ ܆‬Modification not approved at this time. Probation Officer to contact Court.

‫ ܆‬Other

DATED: September 4, 2014.




                                                          UNITED STATES DISTRICT JUDGE
CC:

United States Probation

Assistant United States Attorney: Robert Lapham

Defense Counsel: Garo B. Gasparian (retained)




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